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                       UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

   v.                                     Criminal No. 12-cr-104-02-JL

Robert Quinones



                    ORDER OF DETENTION PENDING TRIAL


    In accordance with 18 U.S.C. § 3142(f), a hearing was

conducted on October 17, 2012, for the purpose of determining

whether the defendant should be detained.            The court issued its

detention order orally from the bench, and this written order

incorporates by reference those findings and rulings. See 18

U.S.C. § 3142(i)(1).

                                Legal Standards

    Section 3142(f) of the Bail Reform Act, 18 U.S.C. §§ 3141-

3156, “does not authorize a detention hearing whenever the

government thinks detention would be desirable, but rather

limits such hearings” to the circumstances listed in 18 U.S.C.

§§ 3142(f)(1) and (f)(2).         United States v. Ploof, 851 F.2d 7,

10 (1st Cir. 1988).       In this case, the government asserts that a

detention hearing is warranted because the defendant is charged
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with drug offenses that carry maximum sentences of ten or more

years.

    The defendant is charged by indictment with conspiracy to

distribute cocaine, in violation of 21 U.S.C. §§ 846 and

841(a)(1).      The drug charges satisfy the parameters of §

3142(f)(1)(C), and, accordingly, the detention hearing was

appropriately requested.

    Pursuant to § 3142(f), the court must determine whether any

condition or combination of conditions set forth in § 3142(c)

will reasonably assure the appearance of the defendant (“risk of

flight”) and the safety of any other person and the safety of

the community (“dangerousness”).            18 U.S.C. § 3142(f); United

States v. Patriarca, 948 F.2d 789, 791 (1st Cir. 1991).                 In

making this determination, the court must consider the

following: (1) the nature and circumstances of the offense

charged; (2) the weight of the evidence as to guilty; (3) the

history and characteristics of the accused, including family

ties, past history, financial resources and employment; and (4)

the nature and seriousness of the danger to any person or the

community that would be posed by a release.             18 U.S.C. §

3142(g).

    During the course of a hearing conducted pursuant to 18

U.S.C. § 3142, the government has the burden of persuading the



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court that no condition or combination of conditions will

reasonably assure (1) the defendant’s presence at trial, United

States v. Perez-Franco, 839 F.2d 867, 870 (1st Cir. 1988); or

(2) the safety of another or the community.           Patriarca, 948 F.2d

at 793.   For its part, the government is required to prove risk

of flight by a preponderance of the evidence and to establish

dangerousness by clear and convincing evidence.               See id. at 792-

93.

      In specific instances, delineated in 18 U.S.C. § 3142(e), a

presumption arises that no condition or combination of

conditions will reasonably assure the appearance of a defendant

and the safety of the community.          Among the instances where a

presumption arises is the situation where

      the judicial officer finds that there is probable
      cause to believe that the person committed an offense
      for which a maximum term of imprisonment of ten years
      or more is prescribed in the Controlled Substances Act
      (21 U.S.C. 801 et seq.) . . . .

18 U.S.C. § 3142(e)(3)(A).       Once the presumption is invoked, the

defendant need only produce “some evidence” to rebut it.                United

States v. Dillon, 938 F.2d 1412, 1416 (1st Cir. 1991); United

States v. Jessup, 757 F.2d 378, 384 (1st Cir. 1958).               “When a

defendant produces such evidence, however, the presumption does

not disappear.     The burden of persuasion remains on the




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government and the rebutted presumption retains evidentiary

weight.”     Dillon, 938 F.2d at 1416.


                             Findings and Rulings

    In this case, the indictment itself constitutes probable

cause to believe that the offense charged has been committed and

that the defendant has committed it.            Because the defendant is

charged by indictment with a drug offense for which a maximum

term of imprisonment is ten years or more, as prescribed in the

Controlled Substance Act, 21 U.S.C. §§ 801 et seq., section

3142(e)’s rebuttable presumption that “no condition or

combination of conditions will reasonably assure [the

defendant’s] appearance . . . and the safety of the community”

is triggered in this case. See 21 U.S.C. §§ 846 and 841(A)(1);

see also United States v. Vargas, 804 F.2d 157, 162-63 (1st Cir.

1986).

    At the hearing, the government argued that defendant’s

release posed a risk of both flight and danger.                 After weighing

the evidence and balancing the factors laid out in 18 U.S.C. §

3142(g), the court finds that the government, aided by the

presumption, met its burden of proof with respect to both flight

and danger.      The court issued its ruling and explained its

rationale orally from the bench.            The court incorporates its




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oral ruling herein, and for the reasons stated on the record,

finds that the government met its burden of proving that

defendant’s release, even on strict conditions, presents too

serious a risk of both flight and danger.          In short, there are

no conditions or combination of conditions that will reasonably

assure the safety of the community or the appearance of

defendant.    Accordingly, it is ORDERED that the defendant be

detained pending trial.

    The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

correctional facility, to be held separately, to the extent

practicable, from persons awaiting or serving sentences or being

held in custody pending appeal.       The defendant shall be afforded

a reasonable opportunity for private consultation with defense

counsel.     On order of a court of the United States or on request

of an attorney for the government, the person in charge of the

correctional facility shall deliver the defendant to the United

States Marshal for the purpose of appearing in connection with

court proceedings.

    To the extent consistent with the jail's regulations, and

presuming that defendant qualifies for admission, the court

makes a recommendation that defendant be allowed entrance into




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the Community Program or the “T.C. Program,” at the Strafford

County House of Corrections.

      SO ORDERED.




                                    __________________________
                                    Landya McCafferty
                                    United States Magistrate Judge

October 17, 2012

cc:   James D. Gleason, Esq.
      Jennifer C. Davis, Esq.
      U.S. Marshal
      U.S. Probation




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